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                                            CIVIL MINUTE ENTRY


BEFORE:                              Magistrate Judge Steven L. Tiscione


DATE:                                December 2, 2019


TIME:                                2:00 P.M.


DOCKET NUMBER(S):                    CV-18-819 (KAM)


NAME OF CASE(S):                     BESEDIN V. COUNTY OF NASSAU ET AL.



FOR PLAINTIFF(S):                    Brewington



FOR DEFENDANT(S):                    Reissman



NEXT CONFERENCE(S):                  MARCH 3, 2020 AT 12:00 P.M., IN-PERSON



FTR/COURT REPORTER:                  2:17 - 2:19, 3:11 - 3:12

RULINGS FROM SETTLEMENT CONFERENCE:

Settlement discussions were held but the parties were unable to reach a disposition at this time. Parties will focus discovery
on Plaintiff's brain injury and reconvene for a further settlement conference on March 3, 2020 at 12:00 p.m
